Case 3:20-cv-05910-LB   Document 17-7   Filed 08/28/20   Page 1 of 9
Case 3:20-cv-05910-LB   Document 17-7   Filed 08/28/20   Page 2 of 9
Case 3:20-cv-05910-LB   Document 17-7   Filed 08/28/20   Page 3 of 9
Case 3:20-cv-05910-LB   Document 17-7   Filed 08/28/20   Page 4 of 9
Case 3:20-cv-05910-LB   Document 17-7   Filed 08/28/20   Page 5 of 9
Case 3:20-cv-05910-LB   Document 17-7   Filed 08/28/20   Page 6 of 9




           EXHIBIT A
     Case 3:20-cv-05910-LB      Document 17-7      Filed 08/28/20    Page 7 of 9




Alex Alben C.V.

Alex Alben has played a leadership role in high tech companies that pioneered the field
of electronic media. As an executive at RealNetworks and Starwave, he executed
business strategies by supervising product development and building new departments
within growing companies. He served as Washington State’s first Chief Privacy Officer
from 2015-19.
Alex has represented the high tech industry in national and global policy groups and
testified before the U.S. House, Senate and Copyright Office on copyright and media
issues resulting from the growth of the Internet and online networks.
His teaching career has focused on privacy and Internet Law, with an emphasis on
public policy and protecting personal data. After three years at the Tech Policy Law
Clinic at the University of Washington, Alex currently is a Lecturer at Law at the UCLA
School of Law, where he teaches “Internet Law, Media & Society.”

Government Experience
Chief Privacy Officer—State of Washington—2015 to 2019
Named Washington State’s first Chief Privacy Officer in April of 2015 and created the
Office of Privacy and Data Protection. Consulted to the Governor and Legislature on
technology and policy issues relating to privacy and security issues. Named one of 25
top “Doers, Dreamers & Drivers” in state government by Gov. Tech Magazine in March
of 2017.
Responsible for training over 50 state agencies on data protection and best practices.
Testified before legislature on biometrics, drones and Internet privacy issues. Tasked
with broadband policy study relating to digital divide and coverage of rural areas.

Business and Product Experience
Alben Ventures, Seattle—2005 to 2014
From 2005-07, investor and management team member for Internet and social media
start up companies, including Wetpaint, Inc., a social media platform, and Delve
Networks, a video and search technology company.
From 2008-11, business strategy and policy consultant to Intellectual Ventures and
TerraPower LLC venture focused on developing next generation nuclear energy
technology, founded by Bill Gates and Nathan Myhrvold.
From 2011-12, special assistant to Vice Provost for Center for Commercialization at
University of Washington with a focus on economic development and financing the W
Fund, an early-stage venture fund.
2013—Consultant to City of Seattle, Office of Economic Development and University of
Washington Office of Planning and Budget. Responsible for authoring “Incubator
       Case 3:20-cv-05910-LB     Document 17-7     Filed 08/28/20    Page 8 of 9


Study” with a focus on the University District. Coordinated with policy makers and
University District Livability Partnership.
2014-- Consultant to State of Washington, Department of Commerce. Focus on
economic development and outreach to emerging companies.
RealNetworks, Inc., Seattle—1997-2004
Held senior executive positions as Vice President of Media Publishing, Music Products
and Public Policy/Government Affairs. Primary accomplishments:

   •    Started the company's government affairs department and served as its first
        Chief Privacy Officer.
   •    Developed communications and marketing strategies for Real Network music
        and entertainment products and services.
   •    Negotiated major agreements for patents, IP rights and company partnerships.
   •    Represented the company in international entertainment and music industry
        negotiations for development of new digital products and standards setting
        initiatives relating to online security and privacy.
   •    Testified before U.S. Senate, U.S. House and Copyright Office on digital media
        distribution issues.


Starwave Corporation, Bellevue, WA—1993-1997
Member of senior management team of this Paul Allen venture:

   •    Vice President of Business Affairs and General Counsel responsible for creating
        the company's legal department, IP policies and licensing procedures.
   •    Negotiated key deals for creating, distributing and operating ESPN.com,
        ABCNews.com, NASCAR Online, Mr. Showbiz and other entertainment web sites
        and CD-Rom products.
   •    Led business development efforts on Eastwood CD-Rom and NASCAR products.
   •    Responsible for industry and public policy outreach in the emerging Internet
        sector relating to digital rights management and IP protection issues.


Motion Picture Attorney, Los Angeles, CA—1985-1993
Warner Bros. Studio and Orion Pictures Corporation:

   •    Handled all legal aspects of motion picture production for over 20 films,
        including financing, talent contracts and acquisition of literary rights.
   •    Wrote strategic plan for electronic media distribution of film products for
        Warner Bros. studio.
   •    Practiced entertainment law as an associate with Rosenfeld, Meyer & Susman.
        Member of Los Angeles Copyright Law Society. (1985 to 1993)


CBS News, New York—1980-1981
Broadcast researcher and writer for CBS News:
       Case 3:20-cv-05910-LB      Document 17-7    Filed 08/28/20   Page 9 of 9



   •    Researcher for Walter Cronkite for CBS Special Events unit covering the 1980
        presidential primaries, election and inauguration.
   •    Reporter for CBS News internal wire service at national conventions.
   •    Researcher for "The Uncounted Enemy" CBS Reports documentary with Mike
        Wallace, which became the subject of the Westmoreland v. CBS libel suit. (1980
        to 1981)

Education
Stanford University, A.B. with distinction, 1980
Activities: Stanford Daily editorial page editor, co-founder of Stanford Committee on
Political Education, Stanford Student Senate.
Stanford Law School, J.D., 1984
Activities: Graduate student teaching assistant in Arms Control & Disarmament
Program. Externship with National Association of Broadcasters. Wrote three student
“law review” musicals.

Community Leadership and Activities
Alben For Congress—2003-2004-- Democratic Candidate for the U.S. Congress
from Washington’s 8th Congressional District. Endorsed by Seattle Times, Seattle Post-
Intelligencer, King County Journal and leading trade and professional organizations.
Co-chair of Stanford Law School's Seattle Law Society for 16 years. Stanford Associates
Outstanding Achievement award (2003). Stanford Law School Board of Visitors (two
terms).
Executive Board Member, Cornish College of the Arts. Responsible for developing the
Cornish 5-year strategic plan. Served on Cornish Board from 2009 to 2015.
Served on boards of Washington Council for International Trade, ACT Theatre, Temple
De Hirsch Sinai and Youth Theatre NorthWest.
Member of Stanford Law School “Law, Science and Technology” Advisory Board.
Humanities Washington—On speaker roster for this non-profit organization, promoting
cultural dialog in Washington State from 2010-16. Topics: “Analog Days—How
Technology Rewrote Our Culture,” and “Privacy in the Digital Age.
Wikipedia Profile:
http://en.wikipedia.org/wiki/Alex_Alben
